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 1
                                    UNITED STATES DISTRICT COURT
 2                                                    for the
 3                                        Western District of Wisconsin
                                                  Civil Division
 4

 5
     MICHELLE R GILBANK, et al.,                           Case No.: 20-CV-601-JDP
 6
                      Plaintiffs,
 7
     vs.                                                   PLAINTIFF’S MOTION FOR SUMMARY
 8                                                         JUDGEMENT
     WOOD COUNTY DHS, et al.,
 9
                      Defendants.
10

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12   Plaintiffs seek the Court’s partial summary judgment on five causes:

13         (1) that the warrantless removal of the minor child T.E.H. from Plaintiff’s custody on August

14            21, 2018,

15         (2) the warrantless eviction of Plaintiff on August 21, 2018, and

16         (3) the continued interference in Plaintiff’s custody of T.E.H. was a violation of Plaintiff’s

17            4th and 14th Amendment rights of familial association and interest in being secure in her

18            home,

19         (4) Plaintiff’s right to procedural due process, and

20         (5) Plaintiff’s right to substantive due process.

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22   This motion is based on the Proposed Findings of Fact and Plaintiff’s Supporting Brief and all

23   other declarations and exhibits submitted therewith on July 1, 2021.

24   PLAINTIFF’S MOTION FOR SUMMARY JUDGEMENT - 1
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 2   Thank you.

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 4      Dated at Marshfield, Wisconsin, this 1st day of August, 2021.

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 6                                                                  Michelle R. Gilbank
 7                                                                      Michelle R. Gilbank, pro se

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24   PLAINTIFF’S MOTION FOR SUMMARY JUDGEMENT - 2
